Case 18-33749-]3| Doc 15 Filed 02/07/19 Entered 02/07/19 09:33:57 Page 1 of 2

UNITED STATES BANKRUPTCY COURT
FOR THE
WESTERN DISTRICT OF KENTUCKY

lN RE: CLIFFORD R. GEARY JR
CASE NO. 18-33749

Chapter 7

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Debtor(s) )
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AMENDED MOTlON FOR MISCF‘LLANEOUS RELI EF REGARDING A RELEASE OF
CAR TlTLES

Cornes the Debtor, by and through counsel and amends the motion filed on or abour
1/25/2019 to enter the attached Order compelling Backlot Cars to release duly paid for titles in
their possession for cars paid for as follows:

l. The debtor and his son operated a car lot known as Cliff and Sons LLC.

2. Back Lot Cars gave the debtor, son, and lot cars to sell and held title till paid. The
debt to Bacl< Lot Cars is held both personally by the debtor and by the used car
dealershipl

3. The debtor, debtors son, and business have paid for cars that Back Lot Cars refuses to
release or talk about due to the filing of bankruptcy and debts owed on other cars.

4. Counsel has Written to Back Lot Cars and they have refused to answer

5. The previously filed motion had attached is a copy of a check Written to Back Lot
Cars for 2005 Ford Ranger that Back Lot Cars negotiated in October of2018 but they
refuse to release the title on that has been sold to an innocent purchaser. The First

Bank of Ohio also paid Back Lot Cars for a 2014 Chevy Cruz in the arnoth of

Case 18-33749-]3| Doc 15 Filed 02/07/19 Entered 02/07/19 09:33:57 Page 2 of 2

38525.00 and a 2012 Dodge Charger in the amount of` $13175.00 and those titles are
still being held onto.
6. The debtor, by Counsel, Would ask this Couit to Order Back Lot Cars to Release title

on the cars that have been paid for at this time by good faith purchasers
Respectfully submitted, .

/s/ Victor E. Tacl<ettl Jr.
Victor E. Tackett, Jr.
\ Attorney for Debtor
223 E. Spring St '
New Albany, lN 47150
Tel: (502)935-3716
Ernail: victor.tackettlaw@gmail.corn

CERTIFICATE OF SERVICE

lt is hereby certified that a copy of the foregoing Was electronically mailed to: William
Steve Reitz, Trustee, and by priority mail to Back Lot Cars, 1712 l\/lain St, Kansas City, MO
64108 on this 7th day of Februag, 2019.

/s/ Victor E. Taokett Jr.
Victor E. Tackett, Jr.
Attomey for Debtor

 

